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                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

KAFI, INC,
 Plaintiff,

v.

DEUTSCHE BANK NATIONAL                            Civil Action No. 4:20-cv-03247
TRUST COMPANY, AS TRUSTEE
FOR FIRST FRANKLIN MORTGAGE
LOAN TRUST 2006-FF16, ASSET-
BACKED CERTIFICATES, SERIES
2006-FF16; AND SPECIALIZED
LOAN SERVICING LLC,
   Defendants.


      DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR
     LEAVE TO SUPPLEMENT THE FIRST AMENDED COMPLAINT
                            (Related to Docket No. 67)

TO THE HONORABLE UNITED STATES DISTRICT COURT:

      COME NOW Defendants DEUTSCHE BANK NATIONAL TRUST

COMPANY, AS TRUSTEE FOR FIRST FRANKLIN MORTGAGE LOAN

TRUST 2006-FF16, ASSET-BACKED CERTIFICATES, SERIES 2006-FF16

(“DB”) and SPECIALIZED LOAN SERVICING LLC (“SLS and together with

DB, collectively, “Defendants”) and files its Response to Plaintiff’s Motion for

Leave to Supplement the First Amended Complaint filed at Docket Entry 67, and

respectfully show the Court as follows:


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                                                  I.
                                             BACKGROUND

           1.      On December 1, 2020, the Court entered its Rule 16 Scheduling Order

at Docket Entry No. 14. According to the Scheduling Order, amendments to

pleadings with leave of court shall be made by December 31, 2020.1

           2.      On April 19, 2021, Defendants filed a Motion to Dismiss pursuant to

Fed. R. Civ. P. 12(b)(6) at Docket Entry No. 40 based on Plaintiff’s failure, as a

matter of law, to state any cognizable claim for relief against Defendants. On or

about May 10, 2021, Plaintiff filed its Response to Defendants’ Motion to Dismiss

at Docket Entry No. 51.

           3.      On May 13, 2021, this Court held a hearing regarding the Motion for

Protective Order filed at Docket Entry No. 45. At the hearing, the Court stayed all

discovery and granted Plaintiff leave to file an Amended Complaint to include all

of its alleged evidence and factual support in seeking to quiet title to the Property

in Plaintiff’s name. Following the hearing, the Court entered a limited scheduling

order regarding Defendants’ pending Motion to Dismiss.2

           4.      On May 31, 2021, Plaintiff filed its First Amended Complaint at

Docket Entry No. 59. On June 11, 2021, Defendants filed their Supplement to

Motion to Dismiss at Docket Entry No. 62. Plaintiff filed its Response on July 2,

2011 at Docket Entry No. 65, followed by Defendants’ Reply filed on July 9, 2021
1
    See Scheduling Order, Docket No. 14 (emphasis added).
2
    See Minutes and Order, Docket No. 58.

                                                        2
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at Docket Entry No. 69. Briefing is complete and the Court currently has the

Motion to Dismiss under advisement.3

        5.       On July 6, 2021, Plaintiff filed a Motion for Leave to Supplement the

First Amended Complaint, claiming that “another cause of action for declaratory

relief and quiet title for violation of the statute of limitations has accrued.” The

Court should deny Plaintiff’s request for leave. Plaintiff continues to grasp at

straws in a desperate attempt to unlawfully invalidate Defendants’ valid and

subsisting lien while increasing the cost of this meritless litigation to the prejudice

of Defendants.

                                           II.
                                 ARGUMENT & AUTHORITIES

        6.       “When an act may or must be done within a specified time, the court

may, for good cause, extend the time on motion made after the time has expired if

the party failed to act because of excusable neglect.”4 When determining “whether

a party’s neglect of a deadline is excusable, . . . the determination is at bottom an

equitable one, taking account of all relevant circumstances surrounding the party’s

omission.”5 Relevant factors include the danger of prejudice, “the length of the

delay and its potential impact on judicial proceedings, the reason for the delay,




3
  See id.
4
  Fed. R. Civ. P. 6(b)(1)(B).
5
  Pioneer Inv. Servs. V. Brunswick Assocs. LP, 507 U.S. 380, 395, 113 S. Ct. 1489, 123 L. Ed. 2d 74 (1993).

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including whether it was within the reasonable control of the movant, and whether

the movant acted in good faith.”6

         7.       Plaintiff’s request for leave to supplement the Amended Complaint is

again based on a flawed interpretation of applicable legal authority regarding the

accrual date for the statute of limitations to non-judicially foreclose a lien on real

property. Plaintiff misrepresents to the Court that the accrual date is the date of a

scheduled foreclosure sale, when there is simply no basis in the law to allege the

statute of limitations to foreclose accrues on the date of a scheduled foreclosure

sale.

         8.       While a notice of trustee’s sale can be the equivalent of a notice of

acceleration, the notice of trustee’s sale must be preceded by the required notice of

intent to accelerate to constitute a notice of acceleration.7 Plaintiff’s First Amended

Complaint, along with its proposed supplement, fails to allege any plausible facts

to support a credible allegation that Defendants’ predecessors mailed a notice of

intent to accelerate, largely because Plaintiff is not the borrower on the mortgage

and alleges no relationship to the borrower in any capacity. Instead, Plaintiff wastes

this Court’s resources by purchasing investment properties and filing suits against



6
  Id.
7
  See Meadowbrook Gardens, Ltd. v. WMFMT Real Estate Ltd. P’ship, 980 S.W.2d 916, 918-19 (Tex. App.—Fort
Worth 1998, pet. denied) (holding that the notice of intent to accelerate coupled with the notice of foreclosure sale
amounted to notice of acceleration); McLemore v. Pacific Southwest Bank, 872 S.W.2d 286, 292 (Tex. App.—
Texarkana 1994, writ dism’d by agr.) (holding that “we may reasonably infer that a notice of intent to accelerate
followed by a notice of trustee’s sale constitutes a notice of acceleration.”).

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lenders with conclusory allegations in an attempt to unlawfully invalidate

mortgage liens.

      9.     Defendants further note that Plaintiff’s proposed supplement includes

Exhibit 13, which is an exact duplicate of Exhibit 4 to Plaintiff’s Amended

Complaint. Plaintiff clearly had this Exhibit in its possession when it filed its

Amended Complaint and was free to include any alleged basis to support its

request to quiet title in Plaintiff’s name. Regardless of Plaintiff’s failure to allege

its best case when this Court granted leave to file its Amended Complaint, the

notice of trustee’s sale attached as both Exhibit 4 and Exhibit 13 fail to state a

claim upon which this Court can grant relief. The notice of trustee’s sale is not

dated, it does not include a file-stamp indicating it is filed in the public records, nor

is it posted to the public as Plaintiff baselessly claims. The notice of trustee’s sale

merely references an alleged sale date of February 6, 2017, which cannot constitute

the date the loan was allegedly accelerated as a matter of law.

      10.    There is no good cause to grant Plaintiff further leave to assert

erroneous bases to claim the statute of limitations to foreclose has expired. Plaintiff

simply seeks to increase the costs of litigation. Defendants’ Motion to Dismiss

pursuant to Fed. R. Civ. 12(b)(6) is fully briefed and ripe for ruling. Permitting

Plaintiff to supplement at this juncture prejudices Defendants, who continue to




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accrue attorneys’ fees to defend against Plaintiff’s unscrupulous claims. The Court

should deny the Motion for Leave on these grounds.

                                        III.
                                      PRAYER

      WHEREFORE, PREMISES CONSIDERED, Defendants respectfully

request that the Court (i) deny Plaintiff’s Motion for Leave, and (ii) award

Defendants such other and further relief at law, and in equity, as is just.

                                               Respectfully submitted,

                                                 //s// Branch M. Sheppard
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                        CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing the above and
foregoing instrument was delivered via e-service to the following on this 14th day
of July, 2021.

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